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 6   3900 East Mexico Avenue, Suite 300
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 8
     *Pro Hac Vice admission to be sought
 9
     Attorneys for Petitioner
10
11                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
     ABANTE ROOTER AND                             Case No. 3:20-cv-00754-JAH-BLM
14   PLUMBING, INC., a California
     corporation, individually and on behalf
15   of all others similarly situated,             CERTIFICATE OF SERVICE
16                       Petitioner,
17   v.
18   TRIUMPH MERCHANT
     SOLUTIONS, LLC, a California
19   limited liability company,
20                       Respondent.
21
22
           The undersigned hereby certifies that on April 23, 2020, I served a true and
23
     accurate copy of the following documents:
24
           (1)    Petitioner’s Motion To Compel Compliance With Subpoenas
25
                  And For Order To Show Cause As To Why Triumph Merchant
26
                  Solutions, LLC Should Not Be Held In Contempt;
27
28
     CERTIFICATE OF SERVICE                    1
 Case 3:20-cv-00754-JAH-BLM Document 6 Filed 04/30/20 PageID.53 Page 2 of 3




 1         (2)   Memorandum In Support Of Petitioner’s Motion To Compel
 2               Compliance With Subpoenas And For Order To Show Cause
 3               As To Why Triumph Merchant Solutions, LLC Should Not Be
 4               Held In Contempt;
 5         (3)   Group Exhibit A – Triumph Subpoenas;
 6         (4)   Group Exhibit B – Declaration of Taylor T. Smith In Support
 7               Of Petitioner’s     Motion   To Compel Compliance         With
 8               Subpoenas And For Order To Show Cause As To Why
 9               Triumph Merchant Solutions, LLC Should Not Be Held In
10               Contempt;
11         (5)   Group Exhibit C – Declarations of Diligence;
12         (6)   Group Exhibit D – Proofs of Service; and
13         (7)   Order Setting Briefing Schedule (Dkt. 3).
14   The foregoing documents were served by first-class U.S. Mail, postage prepaid, and
15   properly addressed to the following party:
16
                              Triumph Merchant Solutions, LLC
17
                             2305 Historic Decatur Dr., Suite 100
18
                                San Diego, California 92106
19
20
                                           /s/Taylor T. Smith
21                                         Taylor T. Smith
22
                                           Aaron D. Aftergood (239853)
23                                          aaron@aftergoodesq.com
24                                         THE AFTERGOOD LAW FIRM
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27
28
     CERTIFICATE OF SERVICE                   2
 Case 3:20-cv-00754-JAH-BLM Document 6 Filed 04/30/20 PageID.54 Page 3 of 3




 1
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 4                                   Denver, Colorado 80210
 5                                   Telephone: (720) 213-0675
                                     Facsimile: (303) 927-0809
 6
 7                                   *Pro Hac Vice Application to be filed

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     CERTIFICATE OF SERVICE             3
